Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 1 of 30 PageID #:3204
                                                                                 1

   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                             WESTERN DIVISION

   3   CITY OF ROCKFORD,                        )   Docket No. 17 C 50107
                                                )
   4                         Plaintiff,         )   Rockford, Illinois
                                                )   Tuesday, January 30, 2018
   5      v.                                    )   1:30 o'clock p.m.
                                                )
   6   MALLINCKRODT ARD, INC.,                  )
       et al.,                                  )
   7                                            )
                             Defendants.        )
   8
                             TRANSCRIPT OF PROCEEDINGS
   9                   BEFORE THE HONORABLE IAIN D. JOHNSTON

  10   APPEARANCES:

  11   For the Plaintiff:                 HAVILAND HUGHES
                                          (201 South Maple Avenue,
  12                                       Suite 110,
                                           Ambler, PA 19002) by
  13                                      MR. DONALD E. HAVILAND, JR.

  14                                      MEYERS & FLOWERS, LLC
                                          (3 North Second Street,
  15                                       Suite 300,
                                           St. Charles, IL 60174) by
  16                                      MR. JONATHAN P. MINCIELI

  17                                      CITY OF ROCKFORD
                                          DEPARTMENT OF LAW
  18                                      (425 East State Street,
                                           Rockford, IL 61104) by
  19                                      MR. IFEANYICHUKWU C. MOGBANA

  20   For the Defendant                  BRYAN CAVE LLP
       Mallinckrodt ARD, Inc.:            (211 North Broadway,
  21                                       Suite 3600
                                           St. Louis, MO 63102) by
  22                                      MR. HERBERT R. GIORGIO
                                          (1201 West Peachtree Street,
  23                                       14th Floor,
                                           Atlanta, GA 30309) by
  24                                      MR. GEORGE P. WATSON

  25
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 2 of 30 PageID #:3205
                                                                                 2

   1                                      WILLIAMS McCARTHY LLP
                                          (120 West State Street,
   2                                       Rockford, IL 61105) by
                                          MR. SCOTT C. SULLIVAN
   3
       For the Defendants                 SKADDEN ARPS SLATE MEAGHER & FLOM
   4   United BioSource                   (155 North Wacker Drive,
       Corporation and                     Suite 2700,
   5   Express Scripts:                    Chicago, IL 60606) by
                                          MR. ERIC J. GORMAN
   6                                      (4 Times Square,
                                           New York, NY 10036) by
   7                                      MR. MATTHEW M. MARTINO

   8   Also Present:                      MR. DAVID HUNDLEY
                                          Counsel for MSP Plaintiffs
   9
       Court Reporter:                    HEATHER M. PERKINS-REIVA
  10                                      327 South Church Street
                                          Rockford, IL 61101
  11                                      (779) 772-8309

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 3 of 30 PageID #:3206
                                                                                    3

   1      (The following is from a tape-recording of proceedings:)

   2               THE CLERK:     Calling 17 CV 50107, City of Rockford v.

   3   Mallinckrodt ARD, Inc., et al.

   4               THE COURT:     All right.     Hold on one second.       I need

   5   to make a scorecard again.

   6               All right.     Let's have people step up and get

   7   appearances.      Plaintiff on that side, Defendants on that side.

   8               MR. MOGBANA:     Good morning, Judge.        Ifean Mogbana for

   9   the City of Rockford.

  10               THE COURT:     Good morning, Mr. Mogbana -- or good

  11   afternoon, Mr. Mogbana.

  12               MR. HAVILAND:      Good morning, your Honor.         Don

  13   Haviland for the City of Rockford.

  14               THE COURT:     Hold on one second.

  15               Okay.

  16               MR. MINCIELI:      Jonathan Mincieli, Meyers & Flowers,

  17   for the City of Rockford.

  18               THE COURT:     Where did you go?       There you are.

  19               Okay.

  20               MR. HUNDLEY:     Good afternoon, your Honor.          David

  21   Hundley on behalf of the MSP Plaintiffs in the related case

  22   that's part of the motion in front of you this morning.

  23               THE COURT:     You know what is going to be a problem?

  24   When just the attorney list goes on double digits -- eight

  25   pages -- or nine pages.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 4 of 30 PageID #:3207
                                                                                  4

   1               Okay.    What was that again?

   2               MR. HUNDLEY:     David Hundley, H-u-n-d-l-e-y.

   3               THE COURT:     Hundley, okay.

   4               MR. HUNDLEY:     Okay.

   5               THE COURT:     All right.      For the -- we will call

   6   you the "new folks."

   7               MR. HUNDLEY:     Fair enough.

   8               THE COURT:     MSP.    Okay.

   9               MR. SULLIVAN:      Good afternoon, your Honor.         Scott

  10   Sullivan for the Mallinckrodt Defendants.

  11               THE COURT:     Good afternoon, Mr. Sullivan.

  12               MR. WATSON:     Tom Watson from Bryan Cave for the

  13   Mallinckrodt Defendants.

  14               MR. GIORGIO:     Good afternoon, your Honor.          Herb

  15   Giorgio, Bryan Cave, for the Mallinckrodt Defendants.

  16               MR. GORMAN:     Good afternoon, your Honor.          Eric

  17   Gorman, Skadden Arps, on behalf of the Express Scripts

  18   Defendants.

  19               THE COURT:     Hold on one second.

  20               MR. MARTINO:     Good afternoon.       Matthew Martino from

  21   Skadden Arps on behalf of the Express Scripts Defendants.

  22               THE COURT:     Okay.    So we have got Mallinckrodt,

  23   Express Scripts.       That's on that.

  24               Then we have the City of Rockford and then the new

  25   folks.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 5 of 30 PageID #:3208
                                                                                     5

   1               First thing -- I have got to find something easy to

   2   do.    I had something easy to do.         We had a briefing schedule

   3   cooking, but that might go sideways now.

   4               I can't rule on the motion to transfer.            That has got

   5   to be ruled on by Judge Kapala, unless you consent to me, and

   6   I don't think that's going to happen.

   7               Can we talk about it a little bit?           So you filed in

   8   California.

   9               MR. HUNDLEY:     Correct, Judge.

  10               THE COURT:     Mr. Hundley, you filed in California.

  11   Which district?

  12               MR. HUNDLEY:     The Central District.

  13               THE COURT:     Okay.    The Central District.        It is filed

  14   there.     It is removed to the Northern District of Illinois

  15   by -- who filed that motion?

  16               MR. HUNDLEY:     The Defendants.

  17               MR. WATSON:     We filed a motion to transfer -- the

  18   Defendants jointly filed a motion to transfer under the

  19   first-to-file doctrine.

  20               THE COURT:     Okay.

  21               MR. WATSON:     And so it was moved to Illinois.

  22               THE COURT:     In that whatever was filed, did it

  23   specify eastern or western division?

  24               MR. WATSON:     I don't believe that it specified either

  25   way.    I think it said Northern District of Illinois.              It gave
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 6 of 30 PageID #:3209
                                                                                 6

   1   the case citation and talked about the Rockford v.

   2   Mallinckrodt and Express Scripts cases.

   3               THE COURT:     Okay.

   4               MR. WATSON:     And --

   5               THE COURT:     Was it your intent to bring it here, or

   6   poor Judge Alonso probably was thinking, "Well, what did I do

   7   wrong to catch this?"

   8               MR. WATSON:     It was our intent to bring it here.

   9               THE COURT:     Okay.    Just checking.

  10               MR. WATSON:     Because we were trying to -- the whole

  11   idea was judicial efficiencies and economies of scale,

  12   judicial economy, and so on and so forth, and to make sure we

  13   didn't end up with inconsistent rulings.             So we wanted it in

  14   front of the same court is the bottom line.

  15               THE COURT:     Okay.    All right.     Judge Alonso is an

  16   excellent judge.       He is a good Blackhawks fan, and he has good

  17   taste in music.

  18               So you don't want to be in front of Judge Alonso or

  19   you do?

  20               MR. GORMAN:     No, Judge, I think when the assignment

  21   first came out, because of the geographical interests of my

  22   client and those attorneys involved, we were a bit seduced by

  23   the idea of our assignment to Chicago, which is why we didn't

  24   initially agree to the motion.

  25               But upon reflection, I think that the intent of the
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 7 of 30 PageID #:3210
                                                                                     7

   1   California court's order certainly is to have the cases

   2   litigated together.        So we don't intend to file any sort of

   3   opposition or to further oppose the --

   4               THE COURT:     Okay.    All right.     I will break the news

   5   to Judge Kapala.

   6               All right.     So, good, that turned out to be easy.

   7               What are you cooking up as far as a response

   8   to -- now that the case is going to be here -- I haven't

   9   looked at it in detail.         Are we going to have more motions?

  10   Do you want to have them joined?           Do they need to be slightly

  11   tweaked?     Do we need a whole new briefing schedule?             What are

  12   your thoughts?

  13               MR. WATSON:     And I'm speaking for Mallinckrodt right

  14   now, and so I will let Express Scripts speak for themselves.

  15               Our thought -- well, first of all, we had filed a

  16   motion to dismiss in this case.           Under the current schedule as

  17   was set in California and transferred to Chicago, and I guess

  18   now will be reassigned to here, our motions in that case are

  19   due on the 23rd of February, and we are perfectly willing and

  20   able to meet that date, unless there is going to be some

  21   consolidation or -- I don't know whether the MSP Plaintiffs

  22   intend to file any amended complaint before then, but we are

  23   ready to go on that.        We can file it by that deadline.

  24               THE COURT:     Okay.

  25               MR. WATSON:     We do think it makes sense to line up
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 8 of 30 PageID #:3211
                                                                                   8

   1   the responses, though, to try to get the briefs on the same

   2   schedule.

   3               THE COURT:     Yes.

   4               MR. WATSON:     And we, at least from our perspective,

   5   are willing to give the Rockford Plaintiffs more time, if

   6   that's what's necessary, to get that done, and we have not

   7   talked to them about a briefing schedule yet.

   8               THE COURT:     Okay.

   9               MR. HAVILAND:      Your Honor, Don Haviland for the City

  10   of Rockford.

  11               So we have amended our complaint, as the court may

  12   have seen.      We added a Plaintiff called "Acument" --

  13               THE COURT:     Yes.

  14               MR. HAVILAND:      -- who has a substantial stake in the

  15   case.    We don't intend to amend again, and I don't think that

  16   consolidation is in the cards for us.             The MSP Plaintiffs'

  17   case is different in terms of their standing.               Their role in

  18   this case is different from Rockford and Acument.                Their

  19   allegations were gleaned off of ours, so there is some

  20   parallel.     I don't disagree that we should have those briefs

  21   move pace.

  22               We have the motion to dismiss of the Defendants, and

  23   we are currently preparing our opposition, which I think is

  24   about that time frame that they would be filing the motion

  25   against the MSP Plaintiffs.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 9 of 30 PageID #:3212
                                                                                     9

   1               So we are probably looking, if you adopt that

   2   schedule, at about a month delay, which puts the hearing off

   3   into the summertime.

   4               But I would be amenable --

   5               THE COURT:     There will be a hearing, just so you

   6   know.

   7               MR. HAVILAND:      Okay.

   8               THE COURT:     I'm not ruling on it.        Judge Kapala -- it

   9   will get put on Judge Kapala's giant stack, and he will rule

  10   on it.

  11               MR. HAVILAND:      So our briefing probably goes to about

  12   April, May, and then the matter will be ready for a ruling by

  13   the court.

  14               Yes, our response is due March 5th currently, per the

  15   court's order, and replies due April the 3rd.               So if the

  16   defense were to file on February the 23rd, and we backed up

  17   our opposition to the end of March, we could put the replies

  18   to the end of April just to stay on track.

  19               MR. WATSON:     I think that's right.

  20               MR. HAVILAND:      I would note that there are some

  21   differences in the case in terms of Express Scripts.                We have

  22   an array of Express Scripts companies, the MSP Plaintiffs.                I

  23   don't know if that is going to necessarily impact the motions,

  24   but I'm sure Express Scripts will raise that for the court in

  25   their papers.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 10 of 30 PageID #:3213
                                                                                  10

    1              THE COURT:     I was going to ask them what their view

    2   was.

    3              Express Scripts, what do you --

    4              MR. GORMAN:      We have no objection to that schedule.

    5   That works for us.

    6              THE COURT:     What I would really like to avoid is

    7   having the Defendants start looking at things and they look at

    8   a slightly different method.          I'm not saying that in a

    9   pejorative way.      It is just when you have had the opportunity,

  10    you start thinking about it, you start putting pen to paper,

  11    and you go, "It is kind of a little different.              I want to

  12    do -- I'm viewing things, I'm viewing litigation differently,"

  13    and then you want to file something different.

  14               If we just scrap the briefing schedule, we are not

  15    going to lose any ground on anything, you are not going to

  16    lose your place in line, and we can start up with a whole new

  17    briefing schedule, if that makes sense.            I'm just throwing it

  18    out there.     I don't want to make any additional -- I don't

  19    want to make any additional work for anybody, but what I don't

  20    want happening is midstream all of a sudden we start amending

  21    briefings and we end up taking longer than we would have if we

  22    would have just started from scratch again.

  23               MR. HAVILAND:      If it is helpful, your Honor, from the

  24    City's perspective, we don't intend to amend the complaint

  25    again.    We spent some time on that amendment.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 11 of 30 PageID #:3214
                                                                                  11

    1              THE COURT:     Okay.

    2              MR. HAVILAND:      We had the first motion to dismiss to

    3   guide us, and of course we added a new client, and that's

    4   going to be the sum total for this point.             So we have their

    5   motion to dismiss.       So I don't think there is going to be any

    6   changes.

    7              THE COURT:     And the motion to dismiss isn't going to

    8   change at all with the addition of the new Plaintiff?

    9              MR. WATSON:      Well, our motion to dismiss reflected

  10    the new Plaintiff in the Rockford case.            I don't foresee any

  11    changes that would need to be made to the Rockford briefing as

  12    a result of the MSP complaint.

  13               THE COURT:     Okay.

  14               MR. WATSON:      If MSP, as I said earlier, wants to

  15    amend their complaint for whatever reason, that might change

  16    something, but I can't envision how it would possibly change

  17    what we have already said in our Rockford motion to dismiss.

  18               THE COURT:     Does MSP have any inkling on filing an

  19    amended complaint?

  20               MR. HUNDLEY:      Judge, I wish I could report that with

  21    specificity.      I have jumped into this, being the Chicago

  22    lawyer in our group, so I can't say one way or the other.

  23               I know that we have made some amendments with regard

  24    to just more sort of housekeeping matters as it relates to the

  25    Plaintiff entities.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 12 of 30 PageID #:3215
                                                                                       12

    1              So I can't say right now if those have already been

    2   made in this particular case.          I believe that they have.          So

    3   my guess is that we do not intend to file an amendment.

    4              THE COURT:     Okay.    So tell me your folks' proposed

    5   briefing schedule.       How do you want to handle it?          It sounds

    6   like you are all in agreement.          We can do it this way.        I'm

    7   not going to force dates on you right now because there is too

    8   many lawyers, too many calendars.           Why don't you look at it

    9   and tell me.      You start proposing what it looks like, and we

  10    will go with that.

  11               MR. HAVILAND:      So, again, your Honor, for the City of

  12    Rockford, we are prepared to file our opposition on March the

  13    5th.    Any additional time is not going to make a difference in

  14    our world.

  15               If Mallinckrodt wants to hold the schedule from

  16    California, I guess we are going to key off of that in terms

  17    of the two rounds of briefs.

  18               THE COURT:     All right.      And you want to use that

  19    February 23rd date and jump off of that?

  20               MR. WATSON:      We are fine -- we are fine with filing

  21    on the 23rd and keying the responses off of that date and the

  22    reply off of that date.

  23               THE COURT:     Okay.    And what's your -- I have a reply

  24    date for you to the 3rd, April 3rd?

  25               MR. WATSON:      April 3rd.     I think it is, yes,
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 13 of 30 PageID #:3216
                                                                                   13

    1   March 5th and April 3rd.

    2              THE COURT:     That's correct.       I got it.     Okay.

    3   April 3rd.

    4              So 2/23/2018 for that motion.

    5              And then how much time to respond to the motion?

    6              MR. HAVILAND:      Your Honor, consulting the electronic

    7   calendar to my left, I see --

    8              THE COURT:     That's why you print them out.           Never

    9   bring your -- just print them out when you come in.

  10               MR. HAVILAND:      The 30th falls on a Friday, of March,

  11    and then April 30th is a Monday.           So that avoids some weekends

  12    in terms of pushing back, roughly, three and a half weeks.

  13               THE COURT:     Okay.    So what day do you want?

  14               MR. HAVILAND:      I just proposed March 30th and

  15    April the 30th, March 30th for the oppositions, April 30th for

  16    the replies.

  17               THE COURT:     Does that work?

  18               MR. WATSON:      That's fine with us.

  19               THE COURT:     March 30th, 2018.

  20               April 30th for replies.

  21               All right.     We have got a new party in one case, a

  22    whole new case.      What type -- I don't know if that changes any

  23    of your initial disclosures, maybe a little bit, tweaks it a

  24    little bit.

  25               What do we do for initial disclosures with the new
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 14 of 30 PageID #:3217
                                                                                    14

    1   Plaintiffs?

    2              MR. HAVILAND:      So we have done our disclosures.            Your

    3   Honor's order was clear about that.           And from both Acument's

    4   standpoint and Rockford's, we have amended, and then we have

    5   done the disclosures for Acument.           So we are done.

    6              THE COURT:     Okay.

    7              MR. WATSON:      And in Mallinckrodt, we filed our

    8   disclosures, and I don't foresee any changes that will be

    9   needed to the disclosures we did for Rockford because of MSP.

  10               THE COURT:     Okay.

  11               MR. WATSON:      We have not done an MSP disclosure.

  12               THE COURT:     Okay.    All right.

  13               MR. GORMAN:      That's the same for the Express Scripts

  14    Defendants.

  15               THE COURT:     Okay.    New folks, what are you looking at

  16    as far as 26(a)(1) disclosures?          When can you get those over

  17    to the Defendants?

  18               MR. HUNDLEY:      I'm thinking, Judge, if you could give

  19    us like somewhere in the neighborhood of 21 days?               That would

  20    be the 20th of February.

  21               THE COURT:     February 28th, 2018, 26(a)(1)s.

  22               Okay.    Anybody anticipate anybody else joining the

  23    fray?

  24               MR. HAVILAND:      Not in this case, your Honor, but we

  25    have made clear to the court and to the Defendants we do
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 15 of 30 PageID #:3218
                                                                                  15

    1   represent other clients, municipalities, third-party payors.

    2   At this point, we don't want to turn the pleadings into a

    3   never-ending case of amendments, but those clients are making

    4   decisions about what to do.

    5              You see that with Acument, it is a Detroit-based

    6   company that has operations in Belvidere, down the road.

    7   That's where their HR is.         So it made a lot of sense to have

    8   them join here.

    9              There may be other cases filed in state court since

  10    some of those clients have smaller claims, but we would talk

  11    with the Defendants first about coordinating all efforts here.

  12    The intent is not to get ahead of this case or to conflict

  13    with it, but we have got our clients that are dealing with

  14    this situation on a granular basis.           I just wanted to echo

  15    what I said to the defense all along, that we have those

  16    clients that we are representing, and this is the case that we

  17    are proceeding with on a class-wide basis.

  18               THE COURT:     Okay.    What are your guys' thoughts?

  19               MR. WATSON:      Other than what counsel just said, we

  20    don't have any knowledge of any other potential cases being

  21    filed.

  22               MR. HAVILAND:      And we haven't heard of any either,

  23    your Honor, outside of the parties represented here.

  24               THE COURT:     It has been a while since I looked at

  25    your motions to dismiss.         I know they are -- Judge Rowland
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 16 of 30 PageID #:3219
                                                                                  16

    1   uses the word "fulsome."

    2              What were the issues?

    3              MR. WATSON:      Well, in the first one, from the

    4   Mallinckrodt standpoint, was Illinois Brick, which I think we

    5   talked about a lot the last time --

    6              THE COURT:     Yes.

    7              MR. WATSON:      -- and the whole standing issue.

    8              And then there were failure-to-state-a-claim

    9   arguments with respect to both the distribution system

  10    arguments and their arguments relating to the acquisition of

  11    an allegedly competing drug.

  12               And then with respect to the state law antitrust

  13    claims, there are standing arguments and some substantive and

  14    procedural arguments depending on the state.

  15               And then RICO, it was essentially failure to

  16    state -- or to prove our alleged enterprise and causation,

  17    various failure-to-state-a-claim arguments.

  18               THE COURT:     Okay.

  19               MR. GORMAN:      For Express Scripts, your Honor, we

  20    moved on many of the same grounds.           In addition, we moved to

  21    dismiss the breach-of-contract claim that Rockford has brought

  22    against Express Scripts, Inc.

  23               THE COURT:     I'm going to kick myself for asking this:

  24    Other than 26(a)(1) disclosures, do you want to move forward

  25    with discovery; and, if so, on what issues?              Do you want to
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 17 of 30 PageID #:3220
                                                                                   17

    1   phase it, do you not want to phase it, both as far as

    2   procedure and subject matter?

    3               MR. HAVILAND:     The good news is, your Honor, we have

    4   made progress.      When we were last in front of you, we thought

    5   we were going to get a motion from the foreign company, the

    6   PLC, that would have raised jurisdictional discovery issues.

    7   So we did not get a 26(b)(2) motion or a 12(b)(2) motion.                 So

    8   that's off the table.

    9               When I last spoke with the court, I framed it as

  10    three different buckets that we were interested in, that I

  11    think are very simple and straightforward and actually go to

  12    the issues that we just raised, and I will make that point.

  13                The number one group of documents is the contracts

  14    between the Defendant parties, beginning with the 2007

  15    contract.     I believe there was an amendment in '08.             And then

  16    there may or may not have been extensions of those agreements.

  17    And I think they are readily available.

  18                Why they would be helpful at this juncture while we

  19    are in the Rule 12 is a lot of the motion arguments go to what

  20    those contracts mean and the distribution system, and I think

  21    that would answer a lot of questions for all the parties.

  22                Obviously, the court saw the motion by Express

  23    Scripts to seal the contract with Rockford.              We didn't weigh

  24    in on that at the time, but we do believe that there is

  25    portions of that contract that should be publicly revealed.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 18 of 30 PageID #:3221
                                                                                     18

    1   But we have that contract, and obviously ESI has it.                But we

    2   are interested in the contracts between these parties because

    3   it is going to help with standing.           We argue that Rockford

    4   buys direct through Express Scripts because the drugs come to

    5   our employees through Curascript, through some consignment or

    6   other basis for the manufacturer, and this agreement has been

    7   around since 2007, so it is over ten years.

    8              It is a finite request.

    9              THE COURT:     Let me pause you right there.

  10               MR. HAVILAND:      Yes.

  11               THE COURT:     So are you saying you need the contracts,

  12    amendments, extensions -- contract issues -- to respond to the

  13    motion to dismiss?

  14               MR. HAVILAND:      I don't need them.       I think our

  15    allegations cover that.        But they are raising factual issues

  16    that go to the contracts, and I do think it advances the cause

  17    of the court to get them sooner rather than later.

  18               THE COURT:     Okay.

  19               MR. HAVILAND:      The two other issues I raised with the

  20    court before were the FTC file documents that led to the

  21    settlement with the FTC for 100 million, and, more

  22    importantly, the licensure of Synacthen, a competitive

  23    product.     We don't have eyeballs from the Plaintiffs' vantage

  24    as to where that license is, and it is important for antitrust

  25    arguments that that product be licensed and to know where it
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 19 of 30 PageID #:3222
                                                                                  19

    1   is going, to know what it is doing in terms of its sales or

    2   coming to fruition.

    3              Then finally is the Retrophin-Shkreli documents.

    4   That's the company, your Honor will remember, that tried to

    5   buy Synacthen before Mallinckrodt came in.             Both of those

    6   cases, the FTC case and the Retrophin case, were settled by

    7   Mallinckrodt, and we believe that those files are finite,

    8   available.

    9              I reread the transcript this morning, your Honor, of

  10    our hearing, and you framed it as this:            If it was ten servers

  11    worth of information, that would be one thing, but if it was

  12    some files in Iron Mountain, then my sense is you would be

  13    more inclined to allow us to move forward so we can move

  14    forward on discovery.

  15               It all comes down to burden and proportionality at

  16    this point.     If those files are available, we would just as

  17    soon get started.

  18               THE COURT:     Okay.    Three wholly different types of

  19    documents here.      Contracts, amendments, agreements,

  20    extensions, I would think that shouldn't be too hard.

  21               MR. WATSON:      Well, let's start with the contracts.

  22               THE COURT:     That seems like the easiest one to start

  23    with.    Go ahead.

  24               MR. WATSON:      It is our position that the motions to

  25    dismiss should be decided on the allegations, and if you start
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 20 of 30 PageID #:3223
                                                                                     20

    1   producing selected documents that they would like to use in

    2   responding to the motion to dismiss --

    3              THE COURT:     That's why I asked the question.

    4              MR. WATSON:      -- it opens up a can of worms because

    5   there are, obviously, documents we would then want to use to

    6   respond to those, and then I think you go well beyond a motion

    7   to dismiss.

    8              THE COURT:     Well, now you are in a summary judgment.

    9   So you have got to get your statements of fact, and you get

  10    your responses, and then all of what we have done is thrown

  11    out the window.

  12               MR. WATSON:      So that's our position on those.

  13               THE COURT:     Okay.

  14               MR. WATSON:      And then the second grouping, as I

  15    understand it, is the FTC and Retrophin litigation.                I group

  16    those two together.       Our position remains, as it was before,

  17    that we shouldn't have to produce that material until after

  18    the court decides that the Defendant -- excuse me, that the

  19    Plaintiffs have stated a plausible claim.

  20               We think we have very good arguments in our motion to

  21    dismiss, and your Honor last time said that all Defendants say

  22    that, but the fact of the matter is that we believe that the

  23    law is going to support us here, and there are certain costs

  24    associated with those documents if we end up having to produce

  25    them, namely that there were different law firms involved in
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 21 of 30 PageID #:3224
                                                                                  21

    1   both of those matters.

    2               Now, you may ask why that matters, and it matters

    3   because if we are going to turn them over now, we are going to

    4   have to review them ourselves and incur costs that we wouldn't

    5   have incurred if we prevail on the motion to dismiss, without

    6   those documents ever having been produced.

    7               I think we talked -- or I talked a fair amount last

    8   time about the fact that Twombly itself arose in the antitrust

    9   context and a lot of it had to do with the fact that discovery

  10    costs can get out of hand very quickly in an antitrust case,

  11    and for that reason Plaintiffs should be forced to prove that

  12    they have alleged plausible claims before discovery begins.

  13                So we would argue that there should not be any

  14    discovery at this point, other than what has already been

  15    undertaken, the Rule 26, until a ruling on the motion to

  16    dismiss.

  17                THE COURT:    Okay.    So I wrote to myself "Where are

  18    the documents kept, how are they kept, how much?"

  19                Where, you answered, different firms, and we all know

  20    that it is not just the --

  21                MR. WATSON:     Let me clarify that just so the record

  22    is clear.     There were different law firms that handled it.

  23    There is an e-Discovery firm that is holding the documents

  24    right now.

  25                THE COURT:    Which e-Discovery firm, if you know?
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 22 of 30 PageID #:3225
                                                                                  22

    1              MR. WATSON:      Greensfelder.

    2              THE COURT:     Okay.    All right.     I do a lot of ESI

    3   stuff, discussions, CLEs, that kind of thing.              I know

    4   Greensfelder is involved in all those things.              At the CLEs,

    5   when people start talking about their cases, I just get up and

    6   make sure I don't want to get conflicted out.              All right.

    7              So let's talk about volume of the FTC and the

    8   licensure issue.       We know where they are at.         We have got them

    9   at some firms.      We have got Greensfelder has some.           What's the

  10    volume?

  11               MR. WATSON:      Honestly, off the top of my head, I

  12    can't tell you what the volume is.           It is a lot, but it is

  13    available electronically.         I don't want to mislead the court.

  14               THE COURT:     Sure.

  15               MR. WATSON:      We are able to produce it.         It is not a

  16    warehouse that's full of hard copies of documents.

  17               THE COURT:     Okay.

  18               MR. WATSON:      You know, there is going to be

  19    additional storage costs, obviously, if we have to produce it,

  20    but it is -- both of those sets of documents, as I understand

  21    it, are available in electronic format.

  22               THE COURT:     Okay.    You get to go to school on what

  23    happened before, and the costs primarily are being borne in

  24    that case, luckily, for you.

  25               So I'm going to bounce back to you folks, and that's
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 23 of 30 PageID #:3226
                                                                                       23

    1   why I asked, do you -- I said -- I think I said do you need

    2   the contract documents to respond.           You said no or you didn't

    3   think so.     Again, I don't want to -- we have got a whole

    4   briefing schedule going.         You said yourself you don't want to

    5   end up in a never-ending-pleadings battle.

    6               If those documents get attached, and then they want

    7   to respond with documents in the reply, well, now it is going

    8   to get converted to a summary judgment motion, and now the

    9   whole thing is a complete waste of time because they have to

  10    do their statement of facts under 56.1, you have to respond,

  11    they have to respond to yours and then any additional ones you

  12    raised.    And then it will be June, and we will be doing

  13    pleadings.

  14                MR. HAVILAND:     So it is not a need, your Honor,

  15    because I believe that the complaint is well-detailed.

  16                THE COURT:    Okay.

  17                MR. HAVILAND:     It describes the product market.            It

  18    describes the competition.

  19                I have reviewed the arguments because, obviously, we

  20    are preparing our opposition.          There is a debate about the

  21    market.    There is a debate about competition, is there harm to

  22    competition.      We've alleged that.       They say it is a facial

  23    conclusory allegation.        And so we are going to brief that, and

  24    the court is going to be presented with that.

  25                The files that we are talking about help to answer
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 24 of 30 PageID #:3227
                                                                                   24

    1   those questions.       The FTC was faced with the same issues in

    2   charging Mallinckrodt as a monopolist.            Retrophin was arguing

    3   "You took the product when we wanted it."             So there is a

    4   competitor arguing that "We didn't get the product.                We would

    5   have been able to bring it to market."            And as I read their

    6   papers, they are arguing those factual positions.

    7               So I do step back, like the court suggested.

    8   Rule 12, they don't get to do that, but they are doing that.

    9   So I'm here now knowing that we are fighting these factual

  10    issues.

  11                So the way I want to respond to the court is we are

  12    going to get there.       I believe we are going to get there

  13    because some of the things that they argued in the first round

  14    of dismissals they are not arguing here.             Express Scripts, for

  15    instance, is not arguing a lack of directness on the part of

  16    Rockford.     We thought we would have that issue with them.              We

  17    don't.    They are not arguing that Acument isn't indirect under

  18    Tennessee law.      I thought we would have that issue.            We don't.

  19                So there are some issues that have gone away, meaning

  20    we are further along to getting a Rule 12 than we were the

  21    last time.     We want to get moving.        We are now almost a full

  22    year in this case, and we are getting calls from clients

  23    wondering where we are moving.

  24                I realize there is a process, and we have been

  25    discussing that.       I'm trying to give the court a couple of
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 25 of 30 PageID #:3228
                                                                                  25

    1   truncated areas that we can start reviewing it, no substantial

    2   burden to the defense.        Since they are collected, and we all

    3   know Greensfelder and these vendors, at some point that gets

    4   transferred to us on our nickel, if you will.              We are hosting.

    5   We are dealing with the issue of having to review.

    6              We would rather start that now than start in June

    7   because we are going to be that much further behind when it

    8   comes to setting that deadline.          I think my colleague

    9   Mr. Flowers said 14 months, and the question was when do we

  10    start.

  11               So if there is not a substantial burden, and the

  12    documents are electronically available, and they will advance

  13    the case, I hear what your Honor says, if we want to use them,

  14    we are going to convert it, but we don't know what the replies

  15    are yet when we frame the argument as I just did, and they may

  16    go there, in which case we can point the court to what the FTC

  17    did and Retrophin did.

  18               But I want to get started sooner than later.              We are

  19    now almost a full year, and I think that these three areas are

  20    very simple, focused areas to begin discovery.              We are not

  21    asking any of these companies to go back into their files.

  22               THE COURT:     So just to beat this dead horse one more

  23    time, if you don't need it --

  24               MR. HAVILAND:      Right.

  25               THE COURT:     -- the purpose of you wanting to proceed
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 26 of 30 PageID #:3229
                                                                                  26

    1   on those three specific areas is for speed of the case, not

    2   going to be used for responses to the motions, right?

    3              MR. HAVILAND:      Correct, your Honor.

    4              THE COURT:     Okay.

    5              MR. HAVILAND:      Unless the replies interject a factual

    6   issue, in which case we would have to make that call whether

    7   we would want to go outside that record.

    8              THE COURT:     If they do a reply and they start

    9   throwing in new evidence outside, well, then that's dirty

  10    pool, right?      I don't think they are going to do it.

  11               Then you are going to come back, and you are going to

  12    want to surreply, and you are going to want a rejoinder, and

  13    then we will be in August, and we still haven't finished where

  14    we are at.

  15               MR. HAVILAND:      I hear you, your Honor.

  16               MR. WATSON:      Can I add one thing in response to the

  17    speed argument?      I will just remind the court that we filed a

  18    motion to dismiss back in August.           Rather than responding,

  19    they filed an amended complaint.           When we were about ready to

  20    file our motion to dismiss the amended complaint, they filed a

  21    second amended complaint.

  22               So I submit that that's why we are seven months down

  23    the road, not because of anything that the Defendants did or

  24    didn't do, and that's perfectly within their rights, but then

  25    they shouldn't be here complaining that we are six months down
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 27 of 30 PageID #:3230
                                                                                  27

    1   the road and there hasn't been any discovery.

    2              THE COURT:     Okay.    The Shkreli documents, where are

    3   they?    How much are -- what's the volume?           What's the status

    4   of them?

    5              MR. WATSON:      Well, the Shkreli documents are what we

    6   called the "Retrophin documents."           I assume that's what's

    7   being referred to, the documents from that case, which is the

    8   civil action.      I'm not aware of any Shkreli specific

    9   documents.

  10               THE COURT:     That's the moniker he is using.           You can

  11    call them "Retrophin."        I don't care, just as long as I know

  12    it in my head.

  13               MR. WATSON:      Right.    I just want to make sure we are

  14    talking about the same thing.

  15               THE COURT:     Are you talking about the same documents?

  16               MR. HAVILAND:      That's correct.

  17               THE COURT:     Okay.

  18               MR. HAVILAND:      We had talked about the Shkreli

  19    criminal case.      He has been prosecuted.        He is in jail.

  20               We are talking about the Retrophin case.

  21               MR. WATSON:      Right, yes.

  22               THE COURT:     Okay.    All right.     So we are talking

  23    about volume, location, how they are kept, if you know.

  24               MR. WATSON:      It is the same.      When I was answering a

  25    moment ago about FTC, I was talking out --
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 28 of 30 PageID #:3231
                                                                                      28

    1              THE COURT:     It would have been all there.          Okay.

    2              MR. WATSON:      Right.

    3              THE COURT:     Okay.    I will allow requests to produce

    4   on contracts, amendments, extensions.            I will allow that to go

    5   forward on written discovery.

    6              On the other two subjects, I need more information.

    7   So talk to whoever you need to talk to at Greensfelder.                   I

    8   need to know volume, megabytes, gigabytes, terabytes.

    9   Greensfelder, this is what they do.           I'm sure they are kept in

  10    ways that can be sliced, diced, and all kinds of things, and

  11    maybe they are using TAR and all kinds of fun tools to figure

  12    out responsive documents, but I need to know the volume, all

  13    right?

  14               And then not just the volume, the manner in which

  15    they are kept, any burdensomeness, costs to transfer,

  16    warehousing, that kind of stuff, I need to know that so I can

  17    make an informed decision.

  18               MR. HAVILAND:      Okay.    And, your Honor, if I may, the

  19    Plaintiffs are willing to bear the cost once the production is

  20    ready.    It obviously becomes our discovery burden.             We are

  21    ahead of ourselves on that with the Rule 12 motion pending.

  22    So if we can understand that cost component well enough, we

  23    might be able to make it easier to transfer.

  24               THE COURT:     Okay.    There is nothing to stop you folks

  25    from talking.
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 29 of 30 PageID #:3232
                                                                                    29

    1               MR. HAVILAND:     Yes.    Thank you.

    2               THE COURT:    Okay.     So you will get written out.          You

    3   will respond.      That will take you to March-ish.

    4               Let's have a status, if everybody is available,

    5   March 15th, say at 1:30.          You will be in the middle of

    6   briefing.     All 26(a)s will be out.        I assume written discovery

    7   will be out and either responded to or better sense, and then

    8   we will talk to you about those issues that I just addressed,

    9   and we will figure out what, if anything, additional we will

  10    do while this is pending, while the motions are all being sent

  11    to Judge Kapala.

  12                MR. HAVILAND:     That date is fine for Plaintiffs, your

  13    Honor.

  14                THE COURT:    Does that work?

  15                Does that work?

  16                MR. WATSON:     That is fine for Defendants as well.

  17                THE COURT:    Mr. Sullivan, does that work for you?

  18                MR. SULLIVAN:     Yes.

  19                THE COURT:    Okay.     All right.    That's what we will

  20    do.   That will be the plan.         Hopefully, the door is shut and

  21    we have no other folks in the case until we meet on

  22    March 15th, okay?

  23                Anything from the Defendants?

  24                MR. WATSON:     No.    Thank you, your Honor.

  25                Anything from the Plaintiffs?
Case: 3:17-cv-50107 Document #: 116 Filed: 02/13/18 Page 30 of 30 PageID #:3233
                                                                                  30

    1              MR. HAVILAND:      No, your Honor.

    2              THE COURT:     Okay.    Have a good day, everybody.

    3      (Which were all the proceedings heard.)

    4                                   CERTIFICATE

    5      I certify that the foregoing is a correct transcript from

    6   the digital recording of proceedings in the above-entitled

    7   matter to the best of my ability, given the limitations of

    8   using a digital-recording system.

    9

  10    /s/ Heather M. Perkins-Reiva                    February 12, 2018

  11
        Heather M. Perkins-Reiva                       Date
  12    Official Court Reporter

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
